

Matter of V.C. (S.C.) (2021 NY Slip Op 01551)





Matter of V.C. (S.C.)


2021 NY Slip Op 01551


Decided on March 18, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: March 18, 2021

Before: Acosta, P.J., Gische, Webber, González, JJ. 


Docket No. NA-46932/16 Appeal No. 13373-13373A Case No. 2019-4563 

[*1]In the Matter of V.C., a Child Under the Age of Eighteen Years, etc., S.C., Respondent-Appellant, Administration for Children's Services, Petitioner-Respondent.


Andrew J. Baer, New York, for appellant.
James E. Johnson, Corporation Counsel, New York (Cynthia Kao of counsel), for respondent.
Dawne A. Mitchell, The Legal Aid Society, New York (Diane Pazar of counsel), attorney for the child.



Order of disposition, Family Court, New York County (Clark V. Richardson, J.), entered on or about April 19, 2019, to the extent it brings up for review a fact-finding order, same court and Judge, entered on or about February 19, 2019, which found that respondent father sexually abused the subject child, unanimously affirmed, without costs. Appeal from fact-finding order unanimously dismissed, without costs, as subsumed in the appeal from the order of disposition.
The finding of sexual abuse was supported by a preponderance of the evidence (see Family Ct Act § 1046[b][i]; Matter of Alijah S. [Daniel S.], 133 AD3d 555, 556 [1st Dept 2015], lv denied 26 NY3d 917 [2016]). The child offered testimony describing a pattern of escalating sexual contact, which occurred on numerous occasions, over a five-year period. The child's testimony was consistent with and corroborated by the child's out-of-court statements. There exists no basis to disturb the court's credibility determinations (see e.g. Matter of Irene O., 38 NY2d 776 [1975]; Matter of Alijah S., 133 AD3d at 556).
We have considered the father's remaining arguments and find them unavailing.THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: March 18, 2021








